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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

ALLIANCE FOR AUTOMOTIVE
INNOVATION

                   Plaintiff,

       vs.                                            C.A. No. 1:20-cv-12090-DPW

MAURA HEALEY, ATTORNEY GENERAL
OF THE COMMONWEALTH OF
MASSACHUSETTS in her official capacity,

                   Defendant.


        PLAINTIFF’S STATUS REPORT REGARDING TRIAL PARTICIPANTS

       In accordance with the Court’s Order at the May 7, 2021 status conference, Plaintiff

Alliance for Automotive Innovation (“Auto Innovators”) submits this report regarding the

individuals it expects to be present in the courtroom for trial.

       The Court previously indicated that seven slots would be allocated to the Court, the

courtroom clerk, the court reporter, two law clerks, the pool reporter representing the press, and

the witness on the stand. The parties have tentatively agreed that an eighth “neutral” slot shall be

allocated to a document technician who will be shared by the parties, to assist with the display of

documents and demonstrative evidence. That leaves eighteen remaining slots, which the parties

have agreed shall be allocated nine per side, meaning that not counting the witness on the stand,

each party can have nine people in the courtroom at a time.

       Consistent with that limitation, Auto Innovators will not have more than nine people on its

side in the courtroom at any one time. As previously indicated, some of these individuals will

rotate depending on the witness:




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       1. John Nadolenco (Mayer Brown), trial counsel

       2. Laurence Schoen (Mintz), trial counsel

       3. Jason Linder / Daniel Queen (Mayer Brown), trial counsel

       4. Erika Jones (Mayer Brown), trial counsel

       5. Sandor Callahan/ Sasha Keck (Mayer Brown), associate support

       6. Daniel Garrie, testifying expert

       7. Bryson Bort, testifying expert

       8. Charles Haake (Auto Innovators), general counsel

       9. Jessica Simmons (Auto Innovators), assistant general counsel


       Auto Innovators reserves the right to modify this list prior to trial, understanding that it

cannot have more than nine individuals at a time present in the courtroom on its behalf, not

counting the witness actually on the stand.


Dated: May 14, 2021

Respectfully submitted,

ALLIANCE FOR AUTOMOTIVE INNOVATION

By its attorneys,

 /s/ Laurence A. Schoen
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and that paper copies will be sent to those indicated as non-registered participants on May 14,
2021.

                                                     /s/ Laurence A. Schoen
                                                     Laurence A. Schoen




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